              Case 22-10609-amc                      Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                                    Desc
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In re: Scungio Borst & Associates, LLC                                                                    Case No. 22-010609 (AMC)
                       Debtor                                                                             Reporting Period: March 31, 2022
                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1). Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]
              IM


                                    J
                                          .
                                                                             1411.1 H________ 114888,67
                                                                                                          'T'.‘"7;,
                                                                                                          ...
                                                                                                                                J       114888.671
CASH BEGINNING OF MONTH                   99746.03    13732.54         0


KI ( Ul’l-
CASH SALES                                       0           0         0                              0                     0                      0              0
                                                                                  o|
ACCOUNTS RECEIVABLE                              0           0         0                              0                     0                      0              0
                                                                       0          ot                  0                     0                      0              0
LOANS AND ADVANCES                               0           0
SALE OF ASSETS                                   0           0         0          of                  0                     0                      0              0

OTHER (ATTACH LIST)                              0           0         0          01                  0                     0                       0             0

TRANSFERS (FROM DIP ACCTS)                       0           0                    of                  0                     0                       0             0
                                                                                                                                                    0             0

   TOTAL RECEIPTS                                0           0         0       0  o|                                        0                       0             0
                                                                           ■■■■

.................................
NET PAYROLL                                      0     2950.91         0          0             2950.91                                      2950.91

PAYROLL TAXES                                    0      1242.8         0          0              1242.8                                        1242.8

SALES. USE, & OTHER TAXES                        0           0         0          0                   0                                             0

INVENTORY PURCHASES                              0           0         0          0                   0                                             0

SECURED/ RENTAL/ LEASES                          0           0         0          0                   0                                             0

INSURANCE                                        0           0         0          0                   0                                             0

ADMINISTRATIVE                                   0      506.36         0          0              506,36                                        506,36

SELLING                                          0           0         0          0                   0                                             0

OTHER (ATTACH LIST)                              0           0         0          0                   0                                             0
                                                                                                                                                    0

OWNER DRAW*                                      0           0         0          0                   0                                             0

TRANSFERS (TO DIP ACCTS)                         0           0         0          0                   0                                             0
                                                                                                                                                    0

PROFESSIONAL FEES                                0           0         0          0                   0                                             0

U.S. TRUSTEE QUARTERLY FEES                      0           0         0          0                   0                                             0

COURT COSTS                                      0           0         0          0                   0                                             0

TOTAL DISBURSEMENTS                              0     4700.07         0          0             4700.07                     0                4700.07              0



NET CASH FLOW                                    0    -4700.07         0                       -4700.07                     0                -4700,07             0

(RECEIPTS LESS DISBURSEMENTS)



1 CASH - END OF MONTH                     99745.031    9032.471              1411.11 1         110188.6                         |i|          110188.6                 1
                                                                       0
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                        THE FOLLOWING SECTION MUST BE COMPLETED


TOTAL DISBURSEMENTS                                                                                                                                        4700,07

   LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                               0

   PLUS; ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                                 0

TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                            4700,07




                                                                                                                                                                  FORM MOR-1
                                                                                                                                                                          104/1171
           Case 22-10609-amc                              Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                                                                Desc
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In re: Scungio Borst & Associates, LLC                                                                                                                   Case No. 22-10609(AMC)
                                          Debtor                                                                                                         Reporting Period: March 31,2022


                                                                                     BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                                                                                        X U 1 1 OX
                                                                                                      I 1 KKI M KI ronilXC MOM 11                                I'l IIIIOX mil


Unrestricted Cash and Equivalents                                                            $                                             110,188.60     $                                  115,082.19
Restricted Cash and Cash Equivalents (see continuation sheet)                                $                                                      -     $                                          -
Accounts Receivable (Net)                                                                    $                                          2,327,758.07      $                                2,327,758.07
Notes Receivable                                                                             $                                                            $                                          -
Inventories                                                                                  $                                                      -     $                                          -
Prepaid Expenses                                                                             $                                                      -     $                                          -
Professional Retainers                                                                       $                                                            $                                          -
Other Current Assets (attach schedule)                                                       $                                              37,220.00     $                                   37,220.00
TOTAL CURRENT ASSETS                                                                         s                                          2../75,766.67     s                                2.480,060.26
I'Rdl’l l\ 11 \Mi 1 ■ >1 IP'11 1
Real Property and Improvements                                                               $                                                            $                                          -
Machinery and Equipment                                                                      $                                                            $
Furniture, Fixtures and Office Equipment                                                     $                                                            $                                          -
Leasehold Improvements                                                                       $                                                            $
Vehicles                                                                                     $                                                      -     $                                          -
Less Accumulated Depreciation                                                                $                                                            $                                          -
TOTAL PROPERTY & EQUIPMENT                                                                   s                                                            s
OHM II
Loans to Insiders*                                                                           $                                                            $
Other Assets (attach schedule)**                                                             s                                           1,553,64 2.26    s                                 1,553,642,26
TOTAL OTHER ASSETS                                                                           s                                           J.353.642.26     s                                 1,553,642.26


..............................                                                                                                     ■    4.C128,80 8 93


                                 1                                                                   kkImkh'oku

HAKUI ms.                                                                                    ‘1                                                     -
Accounts Payable                                                                             $                                                            $
Taxes Payable (refer to FORM MOR-4)                                                          $                                                      -     $
Wages Payable                                                                                $                                                            $
Notes Payable                                                                                $                                                            $                                          -
Rent / Leases - Building/Equipment                                                           $                                               8,225.01     $
Secured Debt! Adequate Protection Payments                                                   $                                                            s
Professional Fees                                                                            $                                                      -     $
Amounts Due to Insiders*                                                                     $                                                      -     $                                          -
Other Postpetition Liabilities (attach schedule)                                             $                                                1,602.64    $
TOTAL POSTPETITION LIABILITIES                                                               s                                               9,827.65     5
I mm UH s si ku a lo i iiyii-niiMiSi.                                                                                 ■
Secured Debt                                                                                 $                                          4,144,328.72      $                                4,144,328,72
Priority Debt                                                                                $                                                            $                                     3,470,07
Unsecured Debt                                                                               $                                          8,216,566.74      $                                 8,216,566,74
TOTAL PRE-PETITION LIABILITIES                                                               s                                         /2.36-/.365.53     s                                72.564.365.53
                                                                                                                          ________ :
TOTAL LIABILITIES                                                                            5                                         12.374,193.18 Is                                    12,364,365.53
--                                                                                                                                     ....'45,38 I.2S) s


Capital Stock
                                                   ■i                                        $
                                                                                                                                                  IB      $
Additional Paid-In Capital                                                                   $                                                      -     $
Partners' Capital Account                                                                    $                                             (53,402.52) $                                      (53,402,52)
Owner's Equity Account                                                                       $                                                            $              ________________________ -
Retained Earnings - Pre-Petition                                                             $                                          2,835,489.87      $                                 2,835,489,87
Retained Earnings - Postpetition                                                             $                                                            $
Adjustments to Owner Equity (attach schedule)                                                $                                         (11,127,471.60) $
Postpetition Contributions (Distributions) (Draws) (attach schedule)                         $                                                             $
NET OWNER EQUITY                                                                             s                                          f<S',575.3<S’7.25; 5                                2,782,087.35


TOTAL LIAB ILITIE                1 AM>             S- 1 Ol 1 1 V                                 1                                      4,028,808 93      s                                15,146,452.88


*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                                   FORM MOR-3
                                                                                                                                                                                                        (04/07)
Case 22-10609-amc                          Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                                                         Desc
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In re                                                                                                                               Case No. 22-10609(AMC)
            Debtor: Scungio Borst & Associates, LLC                                                                                 Reporting Period: March 31,2022



                                                      BALANCE SHEET - continuation sheet

                                                                                       li()(>K> X                                   1
                                                                                                                                        9     iidoi
                                                                                                                                              1.
                                                                                                                                               1*1 li

            Sarina Chaudry - House Rental for out-of-town personnel            $                                        3,200.00    £                                 3,200.00
            Security Deposti - Brandywine Executive Ctr aka TKO Suites         $                                         1,200.00   £                                 1,200.00
            Security Deposit - Delaware River Port Authority Main Office       $                                        5,750.00    £                                 5,750.00
            Office Furniture                                                   $                                        2,800.00    £                                 2,800,00
            Office Fixtures                                                    $                                         1,000.00   £                                 1,000.00
            2003 Proline 23 Sport                                              $                                       14,090.00    £                                14,090,00
            Load-Rite Tandem Trailer                                           $                                         1,075.00   £                                 1,075.00
            2010 Carolina Skiff                                                $                                        7,810.00    £                                 7,810.00
            2010 Boat Trailer                                                  $                                           295.00   £                                  295.00




            TOTAL OTHER CURRENT ASSETS______________________                   s                                       37,220.00    S                                37,220.00
Other Ass
            Employee Retention Credit 2020 Q2 941-X                            $                                        8,081.39    £                                 8,081.39
            Employee Retention Credit 2020 Q3 941-X                            $                                     126,680,17     £                               126,680.17
            Employee Retention Credit 2020 Q4 941-X                            $                                        8,892.82    £                                 8,892.82
            Employee Retention Credit 2021 QI 941-X                            $                                     198,724.00     £                               198,724.00
            Employee Retention Credit 2021 Q2 941-X                            $                                     138,728,77     £                               138,728.77
            Employee Retention Credit 2021 Q3 941-X                            $                                     212,150.22     £                               212,150.22
            Due from Millennial Place - BOE                                    s                                     235,510,75     £                               235,510.75
            Loan to Chris DiGeorge                                             £                                        5,000.00    £                                 5,000.00
            Loan to 418 Federal Partners (Library)                             $                                     619,874.14     £                               619,874.14
            Mechanics Lien - SBA v. KPG-MCG Curtis Tenant et. al.                                                      Unknown                                       Unknown
            SBA V. KPG-MCG Curtis Tenant, DAS et. al.                                                                  Unknown                                       Unknown




            TOTAL OTHER ASSETS                                                 S                                   J,553,642.26     S                          1,553,642.26
                                                                                         KOOK\ \ HIM IM) or                                             XI i;i l)^
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                                                                                                         1 ,1V 1 1l\C M()\
                                                                                                                                    i 1    1 1.1 ! '1IIIJSIIXIl
                                                                                                                                                      KIS' 1) I 1
Other Pos tpetition Liabilities                                                                                                     1!1Bisstim




          TOTAL OTHER POSTPETITIONS LIABILITIES                                £                                                    £                                      -
Adjustme Its to Owner Equity

            Net Income                                                         £                                  (1,109,175.58)    £                                      -
            Adjustment Pending Resolution of the Litigation                    £                                (10,018,296.02)     £                                      -




           TOTAL ADJUSTMENTS TO OWNER EQUITY                                   S                                (n,127,471.60)      S                                      -
Postpetitirm Contributions (Distributions) (Draws)




            TOTAL POSTPETITIONS CONTRIBUTIONS                                  $                                                    $




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
into a separate account, such as an escrow account.




                                                                                                                                                                     FORM MOR-.’ CONT'D
            Case 22-10609-amc                  Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                            Desc
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In re        Scungio Borst & Associates, LLC                                        Case No. 22-10609(AMC)
                         Debtor                                                     Reporting Period.: March 31,2022

                                                 STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                      (
UfVfXLfS                                                                             Mouth                           P ilinu tn
1 Gross Revenues                                                                     $                    -      $                      -
iLess: Returns and Allowances                                                        $                    -      $                      -
|Net Revenue                                                                         $                    -      $                      -
/ /"iSk 1      rAnnv         ii
Beginning Inventory                                                                  $                    -      $                      -
Add: Purchases                                                                       $                    -      $                      -
Add: Cost of Labor                                                                   $                    -      $
Add: Other Costs (attach schedule)                                                   $                    -      $                      -
Less: Ending Inventory                                                               $                    -      $                      -
Cost of Goods Sold                                                                   $                    -      $                      -
Gross Profit                                                                         $                    -      $                      -
ol’i k k 11\(. 1 \PI x**! \
Advertising                                                                          $                    -    $                        -
Auto and Truck Expense                                                               $                    -    $                        -
Bad Debts                                                                            $                    -    $                        -
Contributions                                                                        $                    -    $                        -
Employee Benefits Programs                                                           $                    -    $                        -
Insider Compensation*                                                                $                    -    $                        -
Insurance                                                                            $                    -    $                        -
Management Fees/Bonuses                                                              $                    -    $                        -
Office Expense                                                                       $                    -    $                        -
Pension & Profit-Sharing Plans                                                       $                         $                        -
Repairs and Maintenance                                                              $                    -    $                        -
Rent and Lease Expense                                                               $                    -    $                        -
Salaries/Commissions/Fees                                                            $               2,950.91 $                    2,950.91
Supplies                                                                             $                    -    $                        -
Taxes - Payroll                                                                      $               1,242.80 $                    1,242.80
Taxes - Real Estate                                                                  $                    -    $                        -
Taxes - Other                                                                        $                    -    $                        -
Travel and Entertainment                                                             $                    -    $                        -
Utilities                                                                            $                    -    $                        -
Other (attach schedule)                                                              $                 506.36 $                      506.36
Total Operating Expenses Before Depreciation                                         $               4,700.07 $                    4,700.07
Depreciation/Depletion/Amortization                                                  $                    -    $                        -
Net Profit (Loss) Before Other Income & Expenses                                     $              (4,700.07) $                  (4,700.07)
01111 .R I\( OME VM) 1 M’lAsI
Other Income (attach schedule)                                                       $                    -      $
Interest Expense                                                                     $                    -      $                      -
Other Expense (attach schedule)                                                      $                    -      $                      -
Net Profit (Loss) Before Reorganization Items                                        $              (4,700.07)   $                (4,700.07)
lUiORGVMZ.VIIOMIlMs                                                                                                       i
Professional Fees                                                                    $                    -      $                      -
U. S. Trustee Quarterly Fees                                                         $                    -      $                      -
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)         $                    -      $                      -
Gain (Loss) from Sale of Equipment                                                   $                    -      $                      -
Other Reorganization Expenses (attach schedule)                                      $                    -      $                      -
Total Reorganization Expenses                                                        $                    -      $                      -
Income Taxes                                                                         $                    -      $                      -
Net Profit (Loss)                                                                    $              (4,700.07)   $                (4,700.07)

^"Insider" is defined in 11 U.S.C. Section 101(31).



                                                                                                                                               FORM MOR-2
                                                                                                                                                    (04/07)
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In re: Scungio Borst & Associates, LLC                                                         Case No. 22-10609(AMC)
                  Debtor                                                                       Reporting Period: March 31, 2022



                          ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


\ciiiiiiil'* Kicci\:ililc Kccinii ih.ilimi__         __                                                  ............... 1
                                                                                                                             It
Total Accounts Receivable at the beginning of the reporting period                                 2,327,758.07
+ Amounts billed during the period                                                                         0.00
- Amounts collected during the period                                                                      0.00
Total Accounts Receivable at the end of the reporting period                                       2,327,758.07

 .................    Xgma________________________________________________                              2\IIHHLL              t
0-30 days old                                                                                           0.00
31-60 days old                                                                                    710,017.57
61-90 days old                                                                                    521,988.48
91+ days old                                                                                    2,190,613.72
Total Accounts Receivable                                                                       3,422,619.77
Amount considered uncollectible (Bad Debt)                                                     -1,094,861.70
Accounts Receivable (Net)                                                                       2,327,758.07

                                                   DEBTOR QUESTIONNAIRE

Mii-l he eoiiinleicil I.ivh iiiiuiili                                                          '      Yes             '            No .
1. Have any assets been sold or transferred outside the normal course of business
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
   below.
4. Are workers compensation, general liability and other necessary insurance
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                                   FORM MOR-5
                                                                                                                                        (04/07)
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In re: Scungio Borst & Associates, LLC                                                                       Case No. 22-10609(AMC)
                  Debtor                                                                                     Reporting Period: March 31, 2022

                                                         STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

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                                                                          WUhhddnr          Kinoim.               Dale           CheckSd.
                                                             *
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Withholding
FICA-Employee                                                         0         297.16            297.16           3/28/2022        EFT                         0
FICA-Employer                                                         0         297.17            297.17           3/28/2022        EFT                         0
Unemployment                                                          0              0                 0                             0                          0
Income                                                                0         463.69            463.69           3/28/2022        EFT                         0
Other:                                               $
  Total Federal Taxes                                                 0        1058.02           1058.02                                                        0
Stale and I oral
Withholding
Sales                                                                 0              0                  0                                                       0
Excise                                                                0              0                  0                                                       0
Unemployment                                                          0          45.26              45.26          3/28/2022        EFT                         0
Income                                                                0         118.55             118.55          3/28/2022        EFT                         0
Real Property                                                         0              0                  0                                                       0
Personal Property                                                     0              0                  0                                                       0
Other:NJ Disability, NJ Work Dev                                      0          20.97              20.97          3/28/2022        EFT                         0
  Total State and Local                                               0         184.78             184.78                                                       0
Total Taxes                                                           0         1242.8             1242.8                                                       0



                                             SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.


                                                                                                                               Over 90            Total
Accounts Payable
Wages Payable                                                       0                0                   0                 0                  0                 0
Taxes Payable                                                       0                0                   0                 0                  0                 0
Rent/Leases-Building (1)                                      8225.01          8225.01                   0                 0                  0           8225.01
Rent/Leases-Equipment                                               0                0                   0                 0                  0                 0
Secured Debt/Adequate Protection Payments                           0                0                   0                 0                  0                 0
Professional Fees                                                   0                0                   0                 0                  0                 0
Amounts Due to Insiders*                                            0                0                   0                 0                  0                 0
Other: Storage Units (2)                                      1602.64          1602.64                   0                 0                  0           1602.64
Other:                                                              0                                    0                 0                  0                 0
Total Postpetition Debts                                      9827.65          9827.65                   0                 0                  0           9827.65

Explain how and when the Debtor intends to pay any past-due postpetition debts.
Rent/Leases-Building                              |
     (1)2 Riverside Drive, Suite 500 Office: Rent due for 3/11/22 through 3/31/2022; Office to close as of 4/30/2022
_______ and Delaware Office, Rent paid for QI; Rent due for April 2022 and May 2022, Office to close as of 5/30/2022.
     (2) Storage Units: two original to be closed 4/30/2022; One new to be open 4/18/2022 for long tenn file storage.




^"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                      FORM MOR-4
                                                                                                                                                           (04/07)
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   12:31 PM                                               Scungio Borst & Associates
   04/19/22                                             Transaction List by Date
                                                                March 15-31, 2022

                 Type       Date      Num          Name                       Account     CIr          Split          Debit   Credit

   Mar15-31,22
        Check           03/28/2022          Paychex              1006 • DIP SBA Payroll   X     6564 • Payroll                    2,950.
        Check           03/28/2022          Paychex TPS Taxes    1006 • DIP SBA Payroll   X     6821 • Payroll t...               1,242,
        Check           03/28/2022          Paychex              1006 • DIP SBA Payroll   X     6287 • H/R & P...                   506.
   Mar15-31.22




                                                                                                                                   Page 1
                    Case 22-10609-amc                           Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                                  Desc
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 0903 1708-2676 Scungio Borst & Associates LLC                             CASH REQUIREMENTS
                       THIS REPORT SUMMARIZES YOUR PAYROLL TRANSACTIONS FOR THE CHECK DATE 03/25/22. IT DOES NOT REFLECT MISCELLANEOUS
                                                                 ADMINISTRATIVE CHARGES.


IMPORTANT COVID-19 INFORMATION: If you filed IRS Form 7200, please notify your Paychex representative to avoid owing a balance at the end of the quarter and ensure your
Form 941 is accurate.

TRANSACTION DETAIL

ELECTRONIC FUNDS TRANSFER - Your financial institution will initiate transfer to Paychex at or after 12:01 A.M. on transaction date.

                                                                                                                                                                   BANK DRAFT AMOUNTS
     TRANS. DATE              BANK NAME                      ACCOUNT NUMBER            PRODUCT                 DESCRIPTION                                              & OTHER TOTALS
       03/28/22               TD BANK                        XXXXXXXXXXXXXX427         Direct Deposit          Net Pay Allocations                      2,950.91               2,950.91

        03/28/22              TD BANK                        XXXXXXXXXXXXXX427         Taxpay®                 Employee Withholdings
                                                                                                                 Social Security                          240.84
                                                                                                                 Medicare                                  56.32
                                                                                                                 Fed Income Tax                           463.69
                                                                                                                 NJ Income Tax                            118.55
                                                                                                                 NJ Disability •                           10.88
                                                                                                                 NJ Unemploy                               14.86
                                                                                                                 NJ EE Work Dev                             1.65
                                                                                                                     Total Withholdings                   906.79
                                                                                                               Employer Liabilities
                                                                                                                 Social Security                          240.84
                                                                                                                 Medicare                                  56.33
                                                                                                                 NJ Disability                              3.88
                                                                                                                 NJ Unemploy                               30.40
                                                                                                                 NJ ER Work Dev              _____          4.56
                                                                                                                         Total Liabilities                336.01                1,242.80


                                                                                                                                               EFT FOR 03/28/22                4,193.71

                                                                                                      TOTAL EFT (Does not reflect administrative charges)                      4,193.71

REMAINING DEDUCTIONS / WITHHOLDINGS I LIABILITIES - Paychex does not remit these funds.You must ensure accurate and timely payment of applicable items.

    TRANS. DATE               BANK NAME                          ACCOUNT NUMBER        PRODUCT                 DESCRIPTION                                                       total
      03/25/22                Refer to your records for account Information            Payroll                 Employee Deductions
                                                                                                                 TO-PX401 EEPRE                            26.92
                                                                                                                       Total Deductions                    26.92

                                         TOTAL REMAINING DEDUCTIONS / WITHHOLDINGS / LIABILITIES (Does not reflect administrative charges)                                        26.92




 0903 1708-2676 Scungio Borst & Associates LLC                                                                                                                              Cash Requirements
 Run Date 03/25/22 10:08 AM                                                       Period Start-End Date   03/20/22 - 04/02/22                                                       Page 1 of 2
                                                                                  Check Date              03/25/22                                                                  CASHREQ
                Case 22-10609-amc                Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                                Desc
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0903 1708-2676 Scungio Borst & Associates LLC                 CASH REQUIREMENTS
                     THIS REPORT SUMMARIZES YOUR PAYROLL TRANSACTIONS FOR THE CHECK DATE 03/25/22. IT DOES NOT REFLECT MISCELLANEOUS
                                                               ADMINISTRATIVE CHARGES.



PAYCHEX WILL MAKE THESE TAX DEPOSIT(S) ON YOUR BEHALF - This information serves as a record of payment.

                                                      DUE DATE           PRODUCT                    DESCRIPTION
                                                       03/30/22          Taxpay®                    FED IT PMT Group   1,058.02
                                                       03/30/22          Taxpay®                    NJ Income Tax        118.55




0903 1708-2676 Scungio Borst & Associates LLC                                                                                            Cash Requirements
Run Date 03/25/22 10:08AM                                          Period Start - End Date   03/20/22 - 04/02/22                                 Page 2 of 2
                                                                   Check Date                03/25/22                                            CASHREQ
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             America's Most Convenient Bank®               T        STATEMEWT Of- ACCOUNT




    SCUNGIO BORST AND ASSOCIATES LLC                                Page;                                  1 of 2
    2 RIVERSIDE DRIVE                                               Statement Period:     Mar14 2022-Mar31 2022
    SUITE 500                                                       Cust Ref#:             4408697302-039-T-###
    CAMDEN NJ 08103                                                 Primary Account #:              440-8697302




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
Chapter 11 Checking
SCUNGIO BORST AND ASSOCIATES LLC                                                                 Account # 440-8697302


ACCOUNT SUMMARY
Beginning Balance                          0.00                           Average Collected Balance             99,745.03
Deposits                                 979.02                           Interest Earned This Period                0.00
Other Credits                         98,766.01                           Interest Paid Year-to-Date                 0.00
                                                                          Annual Percentage Yield Earned           0.00%
Ending Balance                        99,745.03                           Days in Period                               18




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                     .AMOUNT

03/14              DEPOSIT                                                                                          979.02
                                                                                           Subtotal:                979.02
Other Credits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT

03/14              DEPOSIT TRANSFER, From Checking 7860634109                                                   98,766.01
                                                                                           Subtotal:            98,766.01


DAILY BALANCE SUMMARY
DATE                                   BALANCE                            DATE                                   BALANCE
03/14                                          0.00                       03/14                                 99,745.03




Can 1-800-937-20G0 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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1:00 PM                                   Scungio Borst & Associates
04/06/22                                  Reconciliation Summary
                          1005 • DIP SBA Operations-7302, Period Ending 03/31/2022

                                                                          Mar 31,22
               Beginning Balance                                                             0.00
                    Cleared Transactions
                       Deposits and Credits - 2 items       ________ 99,745.03

                    Total Cleared Transactions              ________       99,745.03

               Cleared Balance                                                          99,745.03

               Register Balance as of 03/31/2022                                        99,745.03

                    New T ransactions
                      Deposits and Credits - 6 items        _________ 4,546.28

                    Total New Transactions                  _______________ 4,546.28

               Ending Balance                                                          104,291.31




                                                                                                           Page 1
          Case 22-10609-amc                    Doc 74-1 Filed 04/22/22 Entered 04/22/22 12:30:25                      Desc
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1:00 PM                                              Scungio Borst & Associates
04/06/22                                               Reconciliation Detail
                                    1005 ■ DIP SBA Operations-7302, Period Ending 03/31/2022

                  Type                 Date          Num       Name       CIr        Amount                 Balance

           Beginning Balance                                                                                          0.00
                 Cleared Transactions
                    Deposits and Credits - 2 items
           Transfer              03/14/2022                               X                 979.02                 979.02
           Transfer              03/14/2022                               X     _        98,766.01    ___       99,745.03

                    Total Deposits and Credits                                           99,745.03    ___       99,745.03

                 Total Cleared Transactions                                              99,745.03    ___       99,745.03

           Cleared Balance                                                               99,745.03    ___       99,745.03

           Register Balance as of 03/31/2022                                             99,745.03              99,745.03

                New Transactions
                   Deposits and Credits - 6 items
           Deposit              04/04/2022                                                   148.93                148.93
           Deposit              04/04/2022                                                   148.93                297.86
           Deposit              04/04/2022                                                   163.99                461.85
           Deposit              04/04/2022                                                   935.38              1,397.23
           Deposit              04/04/2022                                                 1,443.07              2,840.30
           Deposit              04/04/2022                                        ________ 1,705.98   ___        4,546.28

                   Total Deposits and Credits                                     ________4,546.28               4,546.28

                Total New Transactions                                            ________4,546.28    ___       4,546.28

           Ending Balance                                                               104,291.31            104,291.31




                                                                                                                             Page 1
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             Bank
             America's Most Convenient Bank®              f        STATEMENT OF ACCOUNT




    SCUNGIO BORST AND ASSOCIATES LLC                               Page;                                   1 of 2
    PAYROLL            ___                                         Statement Period:      Mar14 2022-Mar31 2022
                                                                   Cust Ref#:              4408697427-039-T-###
    2 RIVERSIDE DRIVE
                                                                   Primary Account #:               440-8697427
    SUITE 500
    CAMDEN NJ 08103




Overdraft Policy Change Effective April 8, 2022
The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access; TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
Chapter 11 Checking
SCUNGIO BORST AND ASSOCIATES LLC                                                                  Account # 440-8697427
PAYROLL


ACCOUNT SUMMARY
Beginning Balance                           0.00                          Average Collected Balance              11,939,44
Deposits                               13,732.54                          Interest Earned This Period                 0.00
                                                                          Interest Paid Year-to-Date                  0.00
Electronic Payments                     4,700.07                          Annual Percentage Yield Earned            0.00%
Ending Balance                          9,032.47                          Days in Period                                18




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                      AMOUNT

03/14              DEPOSIT                                                                                       13,732.54
                                                                                           Subtotal:             13,732.54
Electronic Payments
POSTING DATE       OESCRIPTION                                                                                      AMOUNT
03/28              CCD DEBIT, PAYCHEX INC. PAYROLL ****1500016909X                                                2,950.91
03/28              CCD DEBIT, PAYCHEX TPS TAXES **“3600000280X                                                    1,242.80
03/28              CCD DEBIT, PAYCHEX EIB INVOICE X****2600000327                                                   506.36
                                                                                           Subtotal:              4,700.07


DAILY BALANCE SUMMARY
DATE                                    BALANCE                           DATE                                    BALANCE

03/14                                       0.00                          03/28                                   9,032.47
03/14                                  13,732.54




CaH 1"800“937"2000 for 24-hour Bank-by-Phone services or connect to www.tdfoank.Gom
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1:55 PM                                  Scungio Borst & Associates
04/06/22                                 Reconciliation Summary
                                 1006 • DIP SBA Payroll, Period Ending 03/31/2022

                                                                  ___________ Mar 31,22___________
               Beginning Balance                                                               0.00
                    Cleared Transactions
                       Checks and Payments - 3 items                     -4,700.07
                       Deposits and Credits - 2 items                    13,732.54
                    Total Cleared Transactions                    _____________ 9,032.47
               Cleared Balance                                    _ ______________________ 9,032.47
               Register Balance as of 03/31/2022                                           9,032.47
               Ending Balance                                                              9,032.47




                                                                                                             Page 1
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1:55 PM                                                 Scungio Borst & Associates
04/06/22                                                  Reconciliation Detail
                                              1006 . DIP SBA Payroll, Period Ending 03/31/2022

                   Type                   Date          Num          Name         CIr       Amount           _   Balance

            Beginning Balance                                                                                              0.00
                  Cleared Transactions
                     Checks and Payments - 3 items
            Check                03/28/2022                   Paychex             X              -2,950.91           -2,950.91
            Check                03/28/2022                   Paychex TPS Taxes   X              -1.242.80           -4,193.71
            Check                03/28/2022                   Paychex             X     __________ -506.36   _       -4,700.07

                       Total Checks and Payments                                                 -4,700.07           -4,700.07

                       Deposits and Credits - 2 items
            Transfer                03/14/2022                                    X                 157.07              157.07
            Transfer                03/14/2022                                    X     ________ 13,575.47   _       13,732.54

                       Total Deposits and Credits                                       ________ 13,732.54           13,732.54

                 Total Cleared Transactions                                             _________ 9,032.47   _        9,032.47

            Cleared Balance                                                             _________ 9,032.47   _        9,032.47

            Register Balance as of 03/31/2022                                           _________ 9,032.47   _        9,032.47

            Ending Balance                                                              _________ 9,032.47   _        9,032.47




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                         Financial Resources                                                                Customer Statement                                       Pg 1 of 3
                                                                        Phone
                         Federal Credit Union                       1-800-933-3280
                         Putting People First                            Email                              Account Number:                             xxxxxxxx3731
                                                                   frfcu@Rnresc.org
                                                                        Website                             Statement Date:             Mar 01,2022 thru Mar 31, 2022
                                                              www.myfinancialresources.org

       520 US Highway 22 East, Bridgewater NJ 08807-2410
       Return Service Requested
                                                                                                            Summary - All Accounts
                                                                                                            Product                          I       Account# |     Ending Balance


                                                                                                            Free Business Checking               xxxxxxxx3731             $1,401.10
                                                                                                            Business Membership Savings          xxxxxxxx1288                 $10.00
           SCUNGIO BORST ASSOCIATES LLC
           2 RIVERSIDE DRIVE
           SUITE 500
           CAMDEN NJ 08103-1054




Free Business Checking - xxxxxxxx3731
Date       1 Transaction Description                                                                    I             Withdrawal 1                Deposit 1               Balance

            BEGINNING BALANCE.                                                                                                                                     $1,437.55
Mar 03      Descriptive Withdrawal Shortage - February Payment                                                          -36.45                                      1,401.10
            ENDING BALANCE                                                                                                                                         $1,401.10

                                                                        Balance Summary
Date        I                    Balance        Date   i                Balance      Date           T
                                                                                                                         Balance      Date                                Balance

Mar 03                       1,401.10

                                                                Overdraft/Returned Item Fees
Fee Type                                                                                     Total For This Period                                              Total Year-to-Date

Total Overdraft Fees                                                                                         $0,00                                                        $0.00
Total Returned Item Fees                                                                                     $0.00                                                        $0.00

                                                                        Account Summary
Previous Date        I       Beginning Balance I           Deposits I         Interest Paid 1                   Withdrawals 1                     Fees 1          Ending Balance

Mar 01, 2022                        1,437.55                 0.00                       0.00                          36.45                      0.00                 1,401.10


Business Membership Savings - xxxxxxxx1288
Date       1 Transaction Description
                                                                                                        1             Withdrawal 1               Deposit 1                Balance
           BEGINNING BALANCE                                                                                                                                           $10.00
           No activity this period.
           ENDING BALANCE                                                                                                                                              $10.00




                                 Introducing Your NEW Statement
                                         We hope you will agree that this new format^ i
                                      is easier to read and gives you more information.
                                If you have any questions, please contact your local branch.

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                                                                                                                        N0PRT.D.N.3O7J-ROOO1.311157226.5625_ 19/010358/02307S
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                          Financial Resources                                                                   Customer Statement                                               Pg 3 of 3
                          Federal Credit Union
                          Putting People First                                                                  Account Number:                   xxxxxxxx3731
                                                                                                                Statement Date: Mar 01, 2022 thru Mar 31, 2022



____________________                                                          Interest Summary
Avg. Daily Balance I Min. Balance for Period | Interest Period                          | Days in Period I Interest Earned | Annual Percentage Yield Earned I Interest Paid YTD

10.00                                    10.00 Mar 01,2022-Mar 31, 2022                                31              0.00                                    0.00%                          0.00

____________ ____________________________                                  Interest Rate Summary                                                                      ______________
Dale               I Rate%                       Date            I Rate%                 Date                    I Rate%                     oSe____________ I Rate%


Mar 20                              0.01%

                                                                      Overdraft/Returned Item Fees
Fee Type                                                               _ ____________________ Total For This Period                                                        Total Year-to-Date
Total Overdraft Fees__________________________                                                                   $0.00 _______________________________ $0,00
Total Returned Item Fees                                                                                         $0.00                                 $0.00

                       _______________ ________________                       Account Summary________________________________________________
Previous Date         1        Beginning Balance 1               Deposits 1          Interest Paid I               Withdrawals!                           Fees!               Ending Balance

Mar 01,2022                                10.00                   0.00                    0.00                            0.00                          0.00                           10.00

Statement Summary_______ ______________________________________
Account Number                  1 Product Description                                                       1      Maturity Date |                     Rate 1                          Balance
XXXXXXXX3731                       Free Business Checking                                                                                                                        $1,401.10
XXXXXXXX1288                       Business Membership Savings                                                                                     0.01%                            $10.00




                                                                                                                           NOPRT.D.N .rOri'ROOOl .ll I 1.57226.562.5. l9/OIO.1.5SZO2.3O79/i
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1:58 PM                                           Scungio Borst & Associates
04/06/22                                            Reconciliation Detail
                                    1021 ■ Free Business Checking, Period Ending 03/31/2022

                  Type                Date        Num           Name            CIr       Amount               Balance

           Beginning Baiance                                                                                        1,437.55
                Cieared Transactions
                   Checks and Payments -1 item
           Check               03/03/2022               Financial Resource...   X     __________ -36.45   ___________ -36.45

                   Total Checks and Payments                                          __________ -36.45   ___________ -36.45

                Total Cleared Transactions                                            __________ -36.45   ___________ -36.45

           Cleared Balance                                                            __________ -36.45   _         1,401.10

           Register Balance as of 03/31/2022                                                     -36.45    ________ 1,401.10

           Ending Balance                                                             __________ -36.45   _________ 1,401.10




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2:00 PM                                         Scungio Borst & Associates
04/06/22                                          Reconciliation Detail
                                        1022 ■ Business Savings, Period Ending 03/31/2022

                  Type                Date      Num          Name         CIr      Amount             Balance

           Beginning Balance                                                                                  10.00
           Cleared Balance                                                                  __   ____________ 10.00

           Register Balance as of 03/31/2022                                                __   ____________ 10.00

           Ending Balance                                                                                       10.00




                                                                                                                        Page 1
